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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-02175-MEH

CHRISTOPHER TUCK,

       Plaintiff,

v.

SHERIFF STEVEN D. NOWLIN, in his individual capacity;
LIEUTENANT JEFFREY COPELAND, in his individual capacity;
DETECTIVE JOHN HAYNES, in his individual capacity;
THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF MONTEZUMA, in its
official capacity,

       Defendants.


                        NOTICE OF SUPPLEMENTAL AUTHORITY


       Defendants SHERIFF STEVEN D. NOWLIN, LIEUTENANT JEFFREY COPELAND,

DETECTIVE JOHN HAYNES, and THE BOARD OF COUNTY COMMISSIONERS OF THE

COUNTY OF MONTEZUMA, in its official capacity hereby submit this Notice of Supplemental

Authority as follows:

                        SUPPLEMENTAL CITATION OF AUTHORITY

       1.      Since the close of briefing on this matter, in the United States District Court for the

Southern District of Indiana, the Honorable Jane Magnus-Stinson issued an opinion in Dircks v.

Barnes, No. 1:21-cv-00451-JMS-MG, 2023 WL 4761662 (S.D. Ind. July 26, 2023), which is

relevant to Defendants’ qualified immunity second prong (clearly established law) argument. In

Dircks, Judge Magnus-Stinson considered on motion for summary judgment law enforcement’s
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use of a drone in the context of a welfare check of two minor children kept in the plaintiff’s home

and who had refused to cooperate with law enforcement’s welfare check. The court, after extensive

analysis (including consideration of many of the cases addressed in the briefing of parties here),

found that the defendants were entitled to qualified immunity under qualified immunity’s second

prong and stated, in part, that the plaintiffs “[had] not pointed to any binding precedent addressing

drones at all.” Id. at *9–13.

                                              Respectfully submitted,


Date: October 20, 2023                        s/ Gordon L. Vaughan
                                              Gordon L. Vaughan
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                                              ATTORNEY FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of October 2023, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following e-mail addresses:

Helen Oh, Esq.
helen@tyroneglover.com

Tyrone Glover, Esq.
tyrone@tyroneglover.com

and I hereby certify that the foregoing was placed in the U.S. Mail, postage prepaid, and addressed
to the following:

[None]
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                                   s/ Gordon L. Vaughan
                                   Gordon L. Vaughan




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